            Case 05-82965-hdh7 Doc 1 Filed 10/10/05                                            Entered 10/10/05 16:53:35                              Page 1 of 34
(Official Form 1)(12/03)
  FORM B1                                 UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS                                                                               Voluntary Petition
                                                  DALLAS DIVISION
Name of Debtor (if individual, enter Last, First Middle):                                       Name of Joint Debtor (Spouse) (if individual, enter Last, First Middle):
Dwire, Linda Sara

All Other Names used by the Debtor in the last 6 years                                          All Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names):                                                     (include married, maiden, and trade names):




Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No (if more than             Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No (if more than
one, state all):                                                                                one, state all):
xxx-xx-2385
Street Address of Debtor (No. and Street, City, State and Zip Code):                            Street Address of Joint Debtor (No. and Street, City, State and Zip Code):
8969 CR 156
Kaufman, TX 75142


County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
Kaufman
Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):




Location of Principal Assets of Business Debtor (if different from street address above):




                                           Information Regarding the Debtor (Check the Applicable Boxes)
 Venue      (Check any applicable box)
 þ    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
      preceding the date of this petition or for a longer part of such 180 days than in any other District.
 ¨    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                   Type of Debtor (Check all boxes that apply)                                        Chapter or Section of Bankruptcy Code Under Which
                                                                                                               the Petition is Filed (Check one box)
 þ    Individual(s)                                    ¨     Railroad
 ¨    Corporation                                      ¨     Stockbroker                        þ     Chapter 7            ¨ Chapter 11                ¨ Chapter 13
 ¨    Partnership                                      ¨     Commodity Broker                   ¨     Chapter 9            ¨     Chapter  12
 ¨    Other__________________________                  ¨     Clearing Bank                      ¨     Section 304 - Case ancillary to foreign proceeding

                      Nature of Debts (Check one box)                                                                     Filing Fee (Check one box)
 þ    Consumer/Non-Business                            ¨     Business                           þ     Full Filing Fee attached
        Chapter 11 Small Business (Check all boxes that apply)                                  ¨     Filing Fee to be paid in installments (Applicable to individuals only)
 ¨    Debtor is a small business as defined by 11 U.S.C. Sec. 101.                                    Must attach signed application for the court's consideration
 ¨    Debtor is & elects to be considered a small business under                                      certifying that the debtor is unable to pay fee except in installments.
      11 U.S.C. § 1121(e) (Optional)                                                                  Rule 1006(b). See Official Form 3.
 Statistical/Administrative Information                  (Estimates only)                                                                THIS SPACE IS FOR COURT USE ONLY

 ¨    Debtor estimates that funds will be available for distribution to unsecured creditors.
 þ    Debtor estimates that, after any exempt property is excluded and administrative expenses are paid,
      there will be no funds available for distribution to unsecured creditors.
                                                  1-15           16-49       50-99          100-199     200-999       1000-Over
 Estimated Number of Creditors
                                                   ¨             þ            ¨               ¨            ¨              ¨
 Estimated Assets
   $0 to         $50,001 to       $100,001 to      $500,001 to      1,000,001 to   $10,000,001 to $50,000,001 to More than
  $50,000         $100,000         $500,000         $1 million       $10 million     $50 million   $100 million  $100 million
   ¨                 þ                ¨                  ¨               ¨              ¨                 ¨                ¨
 Estimated Debts
   $0 to         $50,001 to       $100,001 to      $500,001 to      1,000,001 to   $10,000,001 to $50,000,001 to More than
  $50,000         $100,000         $500,000         $1 million       $10 million     $50 million   $100 million  $100 million
   ¨                 þ                ¨                  ¨               ¨              ¨                 ¨                ¨
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2005 (Build 7.0.0.150, ID 0314979683)
            Case 05-82965-hdh7 Doc 1 Filed 10/10/05                                           Entered 10/10/05 16:53:35                              Page 2 of 34
(Official Form 1)(12/03)                                                                                                                                             FORM B1, Page 2
 Voluntary Petition (page 2)                                                                 Name of Debtor(s):    Linda Sara Dwire
 (This page must be completed and filed in every case)
                             Prior Bankruptcy Case(s) Filed Within Last 6 Years (If more than two, attach additional sheet)
Location Where Filed:                                                                        Case Number:                                   Date Filed:
 Plano, Texas                                                                                95-42120-A                                      10/9/1995
Location Where Filed:                                                                        Case Number:                                   Date Filed:


        Pending Bankruptcy Case(s) Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                                              Case Number:                                   Date Filed:


District:                                                                                    Relationship:                                  Judge:


                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                                           Exhibit A
 I declare under penalty of perjury that the information provided in this petition is        (To be completed if debtor is required to file periodic reports (e.g., forms 10K and
 true and correct.                                                                           10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 [If petitioner is an individual whose debts are primarily consumer debts and has            of the Securities Exchange Act of 1934 and is requesting relief under chapter 11)
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under           ¨     Exhibit A is attached and made a part of this petition.
 each such chapter, and choose to proceed under chapter 7.
                                                                                                                                    Exhibit B
 I request relief in accordance with the chapter of title 11, United States Code,
                                                                                             (To be completed if debtor is an individual whose debts are primarily consumer
 specified in this petition.
                                                                                             debts) I, the attorney for the petitioner named in the foregoing petition, declare
                                                                                             that I have informed the petitioner named in the foregoing petition that [he or she]

 X      /s/ Linda Sara Dwire
                                                                                             may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and
                                                                                             have explained the relief available under each such chapter.
       Linda Sara Dwire

 X                                                                                           X     /s/ Jenny C. Parks                                                 10/10/2005
                                                                                                  Jenny C. Parks                                                         Date
                                                                                                                                    Exhibit C
     Telephone Number (If not represented by an attorney)
                                                                                             Does the debtor own or have possession of any property that poses or is alleged to
     10/10/2005                                                                              pose a threat of imminent and identifiable harm to public health or safety?
     Date
                              Signature of Attorney                                            ¨     Yes, and Exhibit C is attached and made a part of this petition.
                                                                                               þ     No
 X      /s/ Jenny C. Parks                                                                                   Signature of Non-Attorney Petition Preparer
       Jenny C. Parks                                  Bar No. 24002066                       I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110,
                                                                                              that I prepared this document for compensation, and that I have provided the
                                                                                              debtor with a copy of this document.
 Law Office of Jenny C. Parks
 P. O. Box 886
 Crandall, TX 75114
                                                                                                 Printed Name of Bankruptcy Petition Preparer

          (972) 427-8888
 Phone No.______________________        (972) 472-3888
                                 Fax No.______________________
                                                                                                 Social Security Number
     10/10/2005
     Date
             Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of            Address
 the debtor.
                                                                                              Names and Social Security numbers of all other individuals who prepared or
                                                                                              assisted in preparing this document:
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.

                                                                                              If more than one person prepared this document, attach additional sheets
                                                                                              conforming to the appropriate official form for each person.

 X
                                                                                             X
                                                                                                 Signature of Bankruptcy Petition Preparer
     Printed Name of Authorized Individual

                                                                                                 Date
     Title of Authorized Individual
                                                                                              A bankruptcy petition preparer's failure to comply with the provisions of title 11
      10/10/2005                                                                              and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              imprisonment or both (11 U.S.C. § 110; 18 U.S.C. § 156).
   Date
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2005 (Build 7.0.0.150, ID 0314979683)
          Case 05-82965-hdh7 Doc 1 Filed 10/10/05        Entered 10/10/05 16:53:35                         Page 3 of 34
                                   UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION
 IN RE:    Linda Sara Dwire                                          CASE NO

                                                                     CHAPTER                      7


                                        SCHEDULE A (REAL PROPERTY)


                                                                                                  Current Market




                                                                           Husband, Wife, Joint
                                                                                                  Value Of Debtor's
                                                       Nature Of




                                                                             Or Community
                                                                                                  Interest In
 Description And Location Of Property                  Debtor's
                                                                                                  Property, Without    Amount Of
                                                       Interest In                                                    Secured Claim
                                                                                                  Deducting Any
                                                       Property
                                                                                                  Secured Claim Or
                                                                                                  Exemption


8969 CR 156                                       Fee Simple                  W                         $12,000.00             $0.00
Kaufman, Texas 75142
1 Acre




                                                                        Total:                          $12,000.00
           Case 05-82965-hdh7 Doc 1 Filed 10/10/05                        Entered 10/10/05 16:53:35              Page 4 of 34
                                           UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF TEXAS
                                                    DALLAS DIVISION
  IN RE:    Linda Sara Dwire                                                             CASE NO

                                                                                         CHAPTER        7

                                          SCHEDULE B (PERSONAL PROPERTY)




                                                                                                                    Husband, Wife, Joint
                                                                                                                                           Current Market




                                                                                                                      or Community
                                                                                                                                           Value of Debtor's
                                                                                                                                           Interest in
                                          None                                                                                             Property, Without
            Type of Property                                   Description and Location of Property                                        Deducting any
                                                                                                                                           Secured Claim or
                                                                                                                                           Exemption

1. Cash on hand.                          X

2. Checking, savings or other finan-             Bank of America                                                          W                           $30.13
cial accounts, certificates of deposit,          Dallas, Texas
or shares in banks, savings and loan,            Account No. 306091970
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings               Living Room: Sofa, Coffee Table, (2) End Tables, (3) Lamps,              W                          $645.00
including audio, video and computer              (2) Television, DVR, Books & Computer
equipment.
                                                 Kitchen & Dining Room: Refrigerator, Dishwasher,                         W                          $405.00
                                                 Microwave, Dishes, Glasses, Cookware & Small
                                                 Appliances

                                                 Bedroom: Bed, Dresser, Chest, (2) Night Stand, (4) Lamps,                W                          $380.00
                                                 Side Table, Office Desk, Towels & Linens

                                                 Garage & Utility Room: (2) Lawn Mower, Garden Tools,                     W                          $485.00
                                                 Hand Tools, Washer & Dryer


5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Debtor's Clothing                                                        W                          $170.00


7. Furs and jewelry.                             Jewelry                                                                  W                          $135.00




                                                                                                               Total >                             $2,250.13
           Case 05-82965-hdh7 Doc 1 Filed 10/10/05                       Entered 10/10/05 16:53:35         Page 5 of 34
                                          UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF TEXAS
                                                   DALLAS DIVISION
  IN RE:    Linda Sara Dwire                                                            CASE NO

                                                                                        CHAPTER      7

                                         SCHEDULE B (PERSONAL PROPERTY)
                                                          Continuation Sheet No. 1




                                                                                                              Husband, Wife, Joint
                                                                                                                                     Current Market




                                                                                                                or Community
                                                                                                                                     Value of Debtor's
                                                                                                                                     Interest in
                                         None                                                                                        Property, Without
            Type of Property                                  Description and Location of Property                                   Deducting any
                                                                                                                                     Secured Claim or
                                                                                                                                     Exemption


8. Firearms and sports, photo-                  Exercise Equipment & Above Ground Pool                              W                          $275.00
graphic, and other hobby equipment.

9. Interests in insurance policies.             Cheasapeake (Casket Policy)                                         W                        $3,500.00
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name          X
each issuer.

11. Interests in IRA, ERISA, Keogh,             Fidelity Investments (401K)                                         W                       $28,197.92
or other pension or profit sharing
plans. Itemize.

12. Stock and interests in incorpo-      X
rated and unincorporated businesses.
Itemize.

13. Interests in partnerships or joint   X
ventures. Itemize.

14. Government and corporate bonds       X
and other negotiable and non-
negotiable instruments.

15. Accounts receivable.                 X

16. Alimony, maintenance, support,       X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

17. Other liquidated debts owing         X
debtor including tax refunds. Give
particulars.




                                                                                                         Total >                            $34,223.05
           Case 05-82965-hdh7 Doc 1 Filed 10/10/05                         Entered 10/10/05 16:53:35       Page 6 of 34
                                            UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF TEXAS
                                                     DALLAS DIVISION
  IN RE:    Linda Sara Dwire                                                            CASE NO

                                                                                        CHAPTER      7

                                           SCHEDULE B (PERSONAL PROPERTY)
                                                           Continuation Sheet No. 2




                                                                                                              Husband, Wife, Joint
                                                                                                                                     Current Market




                                                                                                                or Community
                                                                                                                                     Value of Debtor's
                                                                                                                                     Interest in
                                           None                                                                                      Property, Without
            Type of Property                                  Description and Location of Property                                   Deducting any
                                                                                                                                     Secured Claim or
                                                                                                                                     Exemption


18. Equitable or future interests, life    X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule of Real
Property.

19. Contingent and noncontingent         X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

20. Other contingent and unliqui-          X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

21. Patents, copyrights, and other         X
intellectual property. Give
particulars.

22. Licenses, franchises, and other        X
general intangibles. Give particulars.

23. Automobiles, trucks, trailers,                2003 Chevy Monte Carlo                                            W                       $14,426.00
and other vehicles and accessories.

24. Boats, motors, and accessories.        X

25. Aircraft and accessories.              X

26. Office equipment, furnishings,         X
and supplies.

27. Machinery, fixtures, equipment,        X
and supplies used in business.




                                                                                                         Total >                            $48,649.05
           Case 05-82965-hdh7 Doc 1 Filed 10/10/05                  Entered 10/10/05 16:53:35        Page 7 of 34
                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION
  IN RE:    Linda Sara Dwire                                                      CASE NO

                                                                                  CHAPTER      7

                                     SCHEDULE B (PERSONAL PROPERTY)
                                                     Continuation Sheet No. 3




                                                                                                        Husband, Wife, Joint
                                                                                                                               Current Market




                                                                                                          or Community
                                                                                                                               Value of Debtor's
                                                                                                                               Interest in
                                     None                                                                                      Property, Without
            Type of Property                            Description and Location of Property                                   Deducting any
                                                                                                                               Secured Claim or
                                                                                                                               Exemption


28. Inventory.                       X

29. Animals.                         X

30. Crops - growing or harvested.    X
Give particulars.

31. Farming equipment and            X
implements.

32. Farm supplies, chemicals, and    X
feed.

33. Other personal property of any          1988 28'x52' Redman Mobile Home                                   W                       $28,000.00
kind not already listed. Itemize.




                                                                                                   Total >                            $76,649.05
           Case 05-82965-hdh7 Doc 1 Filed 10/10/05                            Entered 10/10/05 16:53:35                    Page 8 of 34
                                            UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF TEXAS
                                                     DALLAS DIVISION
  IN RE:    Linda Sara Dwire                                                                    CASE NO

                                                                                               CHAPTER         7

                                 SCHEDULE C (PROPERTY CLAIMED AS EXEMPT)

Debtor elects the exemptions to which debtor is entitled under: (Check one box)

 ¨ 11 U.S.C. Sec. 522(b)(1):   Exemptions provided in 11 U.S.C. Sec. 522(d). Note: These exemptions are available only in certain states.

 þ 11 U.S.C. Sec. 522(b)(2):   Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's
                               domicile has been located for the 180 days immediately preceding the filing of the petition, or for a longer
                               portion of the 180-day period than in any other place, and the debtor's interest as a tenant by the entirety
                               or joint tenant to the extent the interest is exempt from process under applicable nonbankruptcy law.




                                                                                                                                   Current Market
                                                                                                                                   Value of Property
                                                            Specify Law Providing Each                   Value of Claimed
      Description of Property                                                                                                      Without Deducting
                                                            Exemption                                    Exemption
                                                                                                                                   Exemption



8969 CR 156                                             Const. Art. 16 §§ 50, 51, Texas Prop.                            100%                 $12,000.00
Kaufman, Texas 75142                                    Code §§ 41.001, 41.002
1 Acre

Living Room: Sofa, Coffee Table, (2) End                Texas Property Code §§ 42.001(a),                             $645.00                   $645.00
Tables, (3) Lamps, (2) Television, DVR, Books           42.002(a)(1)
& Computer

Kitchen & Dining Room: Refrigerator,                    Texas Property Code §§ 42.001(a),                             $405.00                   $405.00
Dishwasher, Microwave, Dishes, Glasses,                 42.002(a)(1)
Cookware & Small Appliances

Bedroom: Bed, Dresser, Chest, (2) Night Stand,          Texas Property Code §§ 42.001(a),                             $380.00                   $380.00
(4) Lamps, Side Table, Office Desk, Towels &            42.002(a)(1)
Linens

Garage & Utility Room: (2) Lawn Mower, Garden           Texas Property Code §§ 42.001(a),                             $485.00                   $485.00
Tools, Hand Tools, Washer & Dryer                       42.002(a)(1)

Debtor's Clothing                                       Texas Property Code §§ 42.001(a),                             $170.00                   $170.00
                                                        42.002(a)(5)

Jewelry                                                 Texas Property Code §§ 42.001(a),                             $135.00                   $135.00
                                                        42.002(a)(6)

Exercise Equipment & Above Ground Pool                  Texas Property Code §§ 42.001(a),                             $275.00                   $275.00
                                                        42.002(a)(8)

Cheasapeake (Casket Policy)                             Texas Ins. Code art. 21.22, § 1                                  100%                  $3,500.00



                                                                                                                   $17,995.00                 $17,995.00
           Case 05-82965-hdh7 Doc 1 Filed 10/10/05          Entered 10/10/05 16:53:35           Page 9 of 34
                                    UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION
  IN RE:    Linda Sara Dwire                                                CASE NO

                                                                           CHAPTER    7

                               SCHEDULE C (PROPERTY CLAIMED AS EXEMPT)
                                             Continuation Sheet No. 1



                                                                                                       Current Market
                                                                                                       Value of Property
                                            Specify Law Providing Each            Value of Claimed     Without Deducting
      Description of Property
                                            Exemption                             Exemption            Exemption



Fidelity Investments (401K)               Texas Property Code § 42.0021                       100%           $28,197.92

2003 Chevy Monte Carlo                    Texas Property Code §§ 42.001(a),                    $0.00         $14,426.00
                                          42.002(a)(9)

1988 28'x52' Redman Mobile Home           Const. Art. 16 §§ 50, 51, Texas Prop.               100%           $28,000.00
                                          Code §§ 41.001, 41.002




                                                                                          $46,192.92         $88,618.92
           Case 05-82965-hdh7 Doc 1 Filed 10/10/05                                                   Entered 10/10/05 16:53:35                         Page 10 of 34
  IN RE:   Linda Sara Dwire                                                                                             CASE NO
                                                                                                                                          (If Known)
                                                                                                                        CHAPTER    7

                              SCHEDULE D (CREDITORS HOLDING SECURED CLAIMS)

                        ¨     Check this box if debtor has no creditors holding secured claims to report on Schedule D.




                                                          HUSBAND, WIFE, JOINT
                                                                                                                                               AMOUNT OF




                                                                                                                                UNLIQUIDATED
                                                                                 DATE CLAIM WAS INCURRED,




                                                                                                                                 CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR
                                                                                                                                               CLAIM




                                                                                                                                  DISPUTED
                                                                                 NATURE OF LIEN, AND                                                                UNSECURED
CREDITOR'S NAME AND MAILING ADDRESS                                                                                                            WITHOUT
         INCLUDING ZIP CODE                                                      DESCRIPTION AND MARKET                                                             PORTION, IF
                                                                                                                                               DEDUCTING
                                                                                 VALUE OF PROPERTY SUBJECT                                                          ANY
                                                                                                                                               VALUE OF
                                                                                 TO LIEN
                                                                                                                                               COLLATERAL

                                                                                 DATE INCURRED:      11/2003
ACCT #: xxxxxxxx1110                                                             NATURE OF LIEN:
                                                                                 Security Agreement
American General Finance                                                         COLLATERAL:
                                                                                 1988 28'x52' Redman Mobile Home                                       $43,852.26       $15,852.26
Terrell Plaza                                               W                    REMARKS:
111 State Highway 205, Ste. 102
Terrell, TX 75160-2360


                                                                                 COLLATERAL VALUE:              $28,000.00
                                                                                 DATE INCURRED:      2005
ACCT #: 531                                                                      NATURE OF LIEN:
                                                                                 Property Taxes
Kaufman County Tax A/C                                                           COLLATERAL:
                                                                                 1988 28'x52' Redman Mobile Home                                          $271.39
P. O. Box 339                                               W                    REMARKS:
Kaufman, TX 75142



                                                                                 COLLATERAL VALUE:              $28,000.00
                                                                                 DATE INCURRED:      04/2003
ACCT #: xxxxxxxxxx7944                                                           NATURE OF LIEN:
                                                                                 Security Agreement
Primus Financial Service                                                         COLLATERAL:
                                                                                 2003 Chevy Monte Carlo                                                $21,059.50        $6,633.50
P.O. Box 55000                                              W                    REMARKS:
Department 193401
Detroit, MI 48255-1939


                                                                                 COLLATERAL VALUE:              $14,426.00




                                                                                                       Total for this Page (Subtotal) >                $65,183.15       $22,485.76
________________continuation
       No                    sheets attached
                                                                                                                      Running Total >                  $65,183.15       $22,485.76
         Case 05-82965-hdh7 Doc 1 Filed 10/10/05                              Entered 10/10/05 16:53:35                    Page 11 of 34
                                             UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF TEXAS
                                                      DALLAS DIVISION
   IN RE:    Linda Sara Dwire                                                                    CASE NO

                                                                                                 CHAPTER         7

                  SCHEDULE E (CREDITORS HOLDING UNSECURED PRIORITY CLAIMS)


              ¨ Check this box if debtor has no creditors holding unsecured priority claims to report on Schedule E.

 TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) if claims in that category are listed on the attached sheets)


¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but
    before the earlier of the appointment of a trustee or the order for relief. 11 U.S.C. Sec. 507(a)(2).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees, up to a maximum
    of $4,925* per employee, earned within 90 days immediately preceding the filing of the original petition, or the cessation of
    business, whichever occurred first, to the extent provided by 11 U.S.C. Sec. 507(a)(3).

¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. Sec. 507(a)(4).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to a maximum of $4,925* per farmer or fisherman, against the debtor, as
    provided in 11 U.S.C. Sec. 507(a)(5).

¨   Deposits by individuals
    Claims of individuals up to a maximum of $2,225* for deposits for the purchase, lease or rental of property or services for
    personal, family, or household use, that were not delivered or provided. 11 U.S.C. Sec. 507(a)(6).


¨   Alimony, Maintenance, or Support
    Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11
    U.S.C. Sec. 507(a)(7).

¨   Taxes and certain other debts owed to governmental units
    Taxes, customs duties, and penalties owing to federal, state, and local government units as set forth in 11 U.S.C. Sec. 507(a)
    (8).

¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or
    Board of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an
    insured depository institution. 11 U.S.C. Sec. 507(a)(9).

þ   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional
    person employed by such person as approved by the court and/or in accordance with 11 U.S.C. Secs. 326, 328, 329 and 330.




* Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or
after the date of adjustment.




 ________________continuation
        1                     sheets attached
          Case 05-82965-hdh7 Doc 1 Filed 10/10/05                                            Entered 10/10/05 16:53:35                         Page 12 of 34
 IN RE:   Linda Sara Dwire                                                                                      CASE NO
                                                                                                                                  (If Known)
                                                                                                                CHAPTER    7

                   SCHEDULE E (CREDITORS HOLDING UNSECURED PRIORITY CLAIMS)
                                                                               Continuation Sheet No. 1
                 TYPE OF PRIORITY   Administrative allowances




                                                     HUSBAND, WIFE, JOINT




                                                                                                                        UNLIQUIDATED
                                                                                                                         CONTINGENT
                                                       OR COMMUNITY
                                          CODEBTOR




                                                                                                                          DISPUTED
                                                                              DATE CLAIM WAS INCURRED AND                              TOTAL               AMOUNT
CREDITOR'S NAME AND MAILING ADDRESS
        INCLUDING ZIP CODE                                                    CONSIDERATION FOR CLAIM                                  AMOUNT OF           ENTITLED TO
                                                                                                                                       CLAIM               PRIORITY



ACCT #:                                                                     DATE INCURRED:   09/29/2005
                                                                            CONSIDERATION:
Jenny C. Parks, Attorney                                                    Attorney Fees                                                        $500.00         $500.00
P. O. Box 886                                                               REMARKS:
Crandall, TX 75114                                         -




                                                                                               Total for this Page (Subtotal) >                  $500.00         $500.00
                                                                                                              Running Total >                    $500.00         $500.00
           Case 05-82965-hdh7 Doc 1 Filed 10/10/05                                              Entered 10/10/05 16:53:35                     Page 13 of 34
  IN RE:   Linda Sara Dwire                                                                                       CASE NO
                                                                                                                                 (If Known)
                                                                                                                  CHAPTER   7

                 SCHEDULE F (CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS)

                   ¨ Check this box if debtor has no creditors holding unsecured nonpriority claims to report on Schedule F.




                                                             HUSBAND, WIFE, JOINT




                                                                                                                                            UNLIQUIDATED
                                                                                                                                             CONTINGENT
                                                               OR COMMUNITY
                                                  CODEBTOR




                                                                                                                                              DISPUTED
                                                                                     DATE CLAIM WAS INCURRED AND
 CREDITOR'S NAME AND MAILING ADDRESS                                                                                                                       AMOUNT OF CLAIM
         INCLUDING ZIP CODE                                                          CONSIDERATION FOR CLAIM. IF CLAIM
                                                                                     IS SUBJECT TO SETOFF, SO STATE.



ACCT #: xxxx xxxx xxxx 9595                                                         DATE INCURRED:   07/21/2005
                                                                                    CONSIDERATION:
Action Card-Mastercard                                                              Miscellaneous Debt                                                            $1,420.88
P.O. Box 790211                                                                     REMARKS:
                                                              W
St. Louis, MO 63179-0211



ACCT #: xxxx-xxxx-xxxx-4577                                                         DATE INCURRED:   07/29/2005
                                                                                    CONSIDERATION:
Action Card-Visa                                                                    Miscellaneous Debt                                                            $1,309.35
P.O. Box 790211                                                                     REMARKS:
                                                              W
St. Louis, MO 63179-0211



ACCT #: xxxxxxxx1121                                                                DATE INCURRED:   11/19/2004
                                                                                    CONSIDERATION:
American General Finance                                                            Consolidation Loan                                                           $11,221.57
Terrell Plaza                                                                       REMARKS:
                                                              W
111 State Highway 205, Ste. 102
Terrell, TX 75160-2360

ACCT #: xxxx-xxxx-xxxx-2412                                                         DATE INCURRED:   07/15/2005
                                                                                    CONSIDERATION:
Dillards                                                                            Miscellaneous Credit Card Purchases                                            $611.03
P.O. Box 4599                                                                       REMARKS:
                                                              W
Carol Stream, IL 60197-4599



ACCT #: xxx-xx-1749                                                                 DATE INCURRED:   07/15/2003
                                                                                    CONSIDERATION:
Foley's                                                                             Miscellaneous Credit Card Purchases                                            $473.62
P. O. Box 94508                                                                     REMARKS:
                                                              W
Cleveland, OH 44101-4508



ACCT #: xxxx xxxx xxxx 3335                                                         DATE INCURRED:   07/05/2005
                                                                                    CONSIDERATION:
Home Depot Credit Services                                                          Miscellaneous Credit Card Purchases                                           $3,426.90
P.O. Box 689100                                                                     REMARKS:
                                                              W
Des Moines, IA 50368



ACCT #: xxxx-xxxx-xxxx-0557                                                         DATE INCURRED:   08/03/2005
                                                                                    CONSIDERATION:
Orchard Bank/HSBC Card Service                                                      Miscellaneous Debt                                                             $887.68
P.O. Box 60102                                                                      REMARKS:
                                                              W
City of Industry, CA 91716-0102



                                                                                                         Total for this Page (Subtotal) >                         $19,351.03
________________continuation
       1                     sheets attached
                                                                                                                        Running Total >                           $19,351.03
           Case 05-82965-hdh7 Doc 1 Filed 10/10/05                                   Entered 10/10/05 16:53:35                     Page 14 of 34
  IN RE:   Linda Sara Dwire                                                                            CASE NO
                                                                                                                      (If Known)
                                                                                                       CHAPTER   7

                 SCHEDULE F (CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS)
                                                            Continuation Sheet No. 1




                                                  HUSBAND, WIFE, JOINT




                                                                                                                                 UNLIQUIDATED
                                                                                                                                  CONTINGENT
                                                    OR COMMUNITY
                                       CODEBTOR




                                                                                                                                   DISPUTED
                                                                          DATE CLAIM WAS INCURRED AND
 CREDITOR'S NAME AND MAILING ADDRESS                                                                                                            AMOUNT OF CLAIM
         INCLUDING ZIP CODE                                               CONSIDERATION FOR CLAIM. IF CLAIM
                                                                          IS SUBJECT TO SETOFF, SO STATE.



ACCT #: 7530-007968                                                      DATE INCURRED:   08/03/2005
                                                                         CONSIDERATION:
Recreational Factory Warehouse                                           Miscellaneous Credit Card Purchases                                            $898.69
Wells Fargo Financial National Bank                                      REMARKS:
                                                   W
P.O. Box 94498
Las Vegas, NV 89193-4498

ACCT #: 21551890                                                         DATE INCURRED:   07/05/2005
                                                                         CONSIDERATION:
Wells Fargo Financial                                                    Miscellaneous Debt                                                            $1,174.00
1900 Oats Dr., Ste. 134                                                  REMARKS:
                                                   W
Mesquite, TX 75150



ACCT #: xxxx-xxxx-xxxx-0347                                              DATE INCURRED:   08/15/2005
                                                                         CONSIDERATION:
Wells Fargo-Visa                                                         Miscellaneous Credit Card Purchases                                           $2,000.82
P.O. Box 98751                                                           REMARKS:
                                                   W
Las Vegas, NV 89193-8751



ACCT #: xxxx-xxxx-xxxx-1760                                              DATE INCURRED:   08/02/2005
                                                                         CONSIDERATION:
WFNNB-Bealls                                                             Miscellaneous Credit Card Purchases                                            $647.27
P.O. Box 659465                                                          REMARKS:
                                                   W
San Antonio, TX 78265-9465



ACCT #: 922-107-941                                                      DATE INCURRED:   07/29/2005
                                                                         CONSIDERATION:
WFNNB/Lane Bryant Retail                                                 Miscellaneous Credit Card Purchases                                            $580.13
P.O. Box 659728                                                          REMARKS:
                                                   W
San Antonio, TX 78265-9728




                                                                                              Total for this Page (Subtotal) >                          $5,300.91
                                                                                                             Running Total >                           $24,651.94
     Case 05-82965-hdh7 Doc 1 Filed 10/10/05                Entered 10/10/05 16:53:35             Page 15 of 34
                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION
IN RE:   Linda Sara Dwire                                                   CASE NO

                                                                           CHAPTER       7

               SCHEDULE G (EXECUTORY CONTRACTS AND UNEXPIRED LEASES)

          þ Check this box if debtor has no executory contracts or unexpired leases.


                                                              DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                              INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
         NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,        PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
            OF OTHER PARTIES TO LEASE OR CONTRACT             CONTRACT.
     Case 05-82965-hdh7 Doc 1 Filed 10/10/05             Entered 10/10/05 16:53:35      Page 16 of 34
                                  UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION
IN RE:   Linda Sara Dwire                                           CASE NO

                                                                    CHAPTER    7

                                       SCHEDULE H (CODEBTORS)

          þ Check this box if debtor has no codebtors.


              NAME AND ADDRESS OF CODEBTOR                            NAME AND ADDRESS OF CREDITOR
           Case 05-82965-hdh7 Doc 1 Filed 10/10/05                             Entered 10/10/05 16:53:35                    Page 17 of 34
                                               UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF TEXAS
                                                        DALLAS DIVISION
    IN RE:    Linda Sara Dwire                                                                    CASE NO

                                                                                                 CHAPTER         7

                          SCHEDULE I (CURRENT INCOME OF INDIVIDUAL DEBTOR(S))

     Debtor's Marital                              Dependents of Debtor and Spouse (Names, Ages and Relationships)
         Status                Name                        Age Relationship       Name                     Age Relationship
                              K. A. Dwire                   31 Years Daughter
          Single              B. Slatton                    11 Years Granddaughter




   Employment                    Debtor                                                       Spouse
   Occupation                  Operations Assistant
   Name of Employer            Omnicom Management Service
   How Long Employed           10 Years & 6 Months
   Address of Employer         1999 Bryan St., Ste. 3200
                               Dallas, TX 75201

Income: (Estimate of average monthly income)                                                                       DEBTOR                     SPOUSE
Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                $2,937.50
Estimated monthly overtime                                                                                           $72.76
SUBTOTAL                                                                                                          $3,010.26
LESS PAYROLL DEDUCTIONS
    A. Payroll taxes (includes social security tax if B. is zero)                                                    $406.01
    B. Social Security Tax                                                                                           $223.90
    C. Medicare                                                                                                        $0.00
    D. Insurance                                                                                                      $88.08
    E. Union dues                                                                                                      $0.00
    F. Retirement                                                                                                    $201.33
    G. Other (specify) Parking                                                                                        $38.00
    H. Other (specify)                                                                                                 $0.00
    I. Other (specify)                                                                                                 $0.00
    J. Other (specify)                                                                                                 $0.00
    K. Other (specify)                                                                                                 $0.00
    SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                   $957.32
TOTAL NET MONTHLY TAKE HOME PAY                                                                                   $2,052.94
Regular income from operation of business or profession or farm (attach detailed stmt)                                 $0.00
Income from real property                                                                                              $0.00
Interest and dividends                                                                                                 $0.00
Alimony, maintenance or support payments payable to debtor for the debtor's use or                                     $0.00
   that of the dependents listed above
Social Security or other government assistance (specify)                                                               $0.00
Pension or retirement income                                                                                           $0.00
Other monthly income (specify below)
    1.                                                                                                                $0.00
    2.                                                                                                                $0.00
    3.                                                                                                                $0.00
   TOTAL MONTHLY INCOME                                                                                           $2,052.94
TOTAL COMBINED MONTHLY INCOME $2,052.94                                                     (Report also on Summary of Schedules)
Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this document:
        Case 05-82965-hdh7 Doc 1 Filed 10/10/05                             Entered 10/10/05 16:53:35                   Page 18 of 34
                                           UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF TEXAS
                                                    DALLAS DIVISION
 IN RE:    Linda Sara Dwire                                                                    CASE NO

                                                                                              CHAPTER         7

                SCHEDULE J (CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S))

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. If box is checked, complete a separate
¨
    schedule of expenditures labeled "Spouse."


Rent or home mortgage payment (include lot rental for mobile home)                                                                             $275.00
Are real estate taxes included?        ¨ Yes       þ No
Is property insurance included?        ¨ Yes       þ No
Utilities: Electricity and heating fuel                                                                                                         $50.00
           Water and sewer
           Telephone                                                                                                                            $35.00
           Other: Health & Beauty Aids                                                                                                          $25.00
Home maintenance (repairs and upkeep)                                                                                                           $35.00
Food                                                                                                                                           $360.00
Clothing                                                                                                                                        $20.00
Laundry and dry cleaning                                                                                                                        $50.00
Medical and dental expenses (not covered by insurance)                                                                                          $36.00
Transportation (not including car payments)                                                                                                    $325.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                 $2.00
Charitable contributions
Insurance (not deducted from wages or included in home mortgage payments)
         Homeowner's or renter's                                                                                                                $35.00
         Life                                                                                                                                   $69.16
         Health
         Auto                                                                                                                                   $85.30
         Other:
Taxes (not deducted from wages or included in home mortgage payments)                                                                           $26.00
Specify: Property Taxes
Installment payments: (In Chapter 12 and 13 cases, do not list payments included in the plan)
           Auto:                                                                                                                               $512.11
           Other:
           Other:
           Other:
Alimony, maintenance, and support paid to others:
Payments for support of add'l dependents not living at debtor's home:
Regular expenses from operation of business, profession, or farm (attach detailed statement)
Other: See attached personal expenses                                                                                                           $99.00
Other:

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                                 $2,039.57

[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some other regular
interval.

A. Total projected monthly income
B. Total projected monthly expenses (including separate spouse budget if applicable)
C. Excess income (A minus B)
D. Total amount to be paid into plan each                             (interval)
        Case 05-82965-hdh7 Doc 1 Filed 10/10/05   Entered 10/10/05 16:53:35          Page 19 of 34
                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION
IN RE:    Linda Sara Dwire                                   CASE NO

                                                             CHAPTER   7

                                   EXHIBIT TO SCHEDULE J




                                   Itemized Personal Expenses

Expense                                                                                         Amount

School Lunches                                                                                       $15.00
Vet                                                                                                  $33.00
Cable                                                                                                $51.00


                                                                           Total >                   $99.00
        Case 05-82965-hdh7 Doc 1 Filed 10/10/05                        Entered 10/10/05 16:53:35            Page 20 of 34
                                        UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS
                                                 DALLAS DIVISION
 IN RE:    Linda Sara Dwire                                                             CASE NO

                                                                                       CHAPTER      7

                                               SUMMARY OF SCHEDULES




                                        ATTACHED NO. OF
NAME OF SCHEDULE                                                        ASSETS                   LIABILITIES         OTHER
                                        (YES/NO) SHEETS

A - Real Property                           Yes            1                   $12,000.00



B - Personal Property                       Yes            4                   $76,649.05



C - Property Claimed                        Yes            2
    as Exempt


D - Creditors Holding                       Yes            1                                            $65,183.15
    Secured Claims

E - Creditors Holding Unsecured
                                            Yes            2                                              $500.00
    Priority Claims


F - Creditors Holding Unsecured                            2                                            $24,651.94
                                            Yes
    Nonpriority Claims

G - Executory Contracts and
                                            Yes            1
   Unexpired Leases


H - Codebtors                               Yes            1


I - Current Income of
                                            Yes            1                                                            $2,052.94
    Individual Debtor(s)


J - Current Expenditures of
                                            Yes            2                                                            $2,039.57
   Individual Debtor(s)


                           Total Number of Sheets          17
                                 of ALL Schedules    >


                                                    Total Assets   >           $88,649.05


                                                                         Total Liabilities   >          $90,335.09
         Case 05-82965-hdh7 Doc 1 Filed 10/10/05                      Entered 10/10/05 16:53:35              Page 21 of 34
                                         UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF TEXAS
                                                  DALLAS DIVISION
  IN RE:   Linda Sara Dwire                                                            CASE NO

                                                                                       CHAPTER          7

                            DECLARATION CONCERNING DEBTOR'S SCHEDULES


                        DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      18
sheets, and that they are true and correct to the best of my knowledge, information, and belief.




Date 10/10/2005                                              Signature    /s/ Linda Sara Dwire
                                                                         Linda Sara Dwire

Date                                                         Signature


                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
          Case 05-82965-hdh7 Doc 1 Filed 10/10/05                                Entered 10/10/05 16:53:35                     Page 22 of 34
                                               UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF TEXAS
                                                        DALLAS DIVISION
  IN RE:     Linda Sara Dwire                                                                       CASE NO

                                                                                                   CHAPTER          7

                                              STATEMENT OF FINANCIAL AFFAIRS


       1. Income from employment or operation of business
None
              State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business
¨      from the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two years
       immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a
       calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state
       income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        AMOUNT                      SOURCE (if more than one)
        $33,242.00                  Debtor's Employment- 2003

        $33,194.00                  Debtor's Employment- 2004

        $25,280.00                  Debtor's Employment- 2005 (Approx.)

       2. Income other than from employment or operation of business
None
               State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
þ      during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each
       spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
None
            a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor,
¨      made within 90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                        DATES OF
        NAME AND ADDRESS OF CREDITOR                                    PAYMENTS                AMOUNT PAID              AMOUNT STILL OWING
        American General Finance                                        July 2005               $232.61                  $43,852.26
        Terrell Plaza                                                   August 2005
        111 State Highway 205, Ste. 102                                 September
        Terrell, TX 75160-2360                                          2005

None
              b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are
þ      or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


       4. Suits and administrative proceedings, executions, garnishments and attachments
None
              a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
þ      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
              b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
þ      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
              List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
þ      returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
       13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)
          Case 05-82965-hdh7 Doc 1 Filed 10/10/05                               Entered 10/10/05 16:53:35                    Page 23 of 34
                                               UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF TEXAS
                                                        DALLAS DIVISION
  IN RE:     Linda Sara Dwire                                                                       CASE NO

                                                                                                  CHAPTER          7

                                              STATEMENT OF FINANCIAL AFFAIRS
                                                                Continuation Sheet No. 1


       6. Assignments and receiverships
None
               a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this
þ      case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
             b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding
þ      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
              List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and
¨      usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than
       $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF PERSON                                    RELATIONSHIP TO                                  DESCRIPTION AND
        OR ORGANIZATION                                               DEBTOR, IF ANY  DATE OF GIFT                     VALUE OF GIFT
        Salvation Army                                                                       2005                      Clothes
                                                                                                                       $21.00

       8. Losses
None
               List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
þ      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
             List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning
¨      debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the
       commencement of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYOR IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Jenny C. Parks, Attorney                                      09/29/2005                       $500.00
        P. O. Box 886
        Crandall, TX 75114

        Debt Options                                                  09/01/2005                       $464.95

       10. Other transfers
None
              List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
þ      either absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
          Case 05-82965-hdh7 Doc 1 Filed 10/10/05                               Entered 10/10/05 16:53:35                    Page 24 of 34
                                                UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF TEXAS
                                                         DALLAS DIVISION
  IN RE:     Linda Sara Dwire                                                                      CASE NO

                                                                                                  CHAPTER         7

                                               STATEMENT OF FINANCIAL AFFAIRS
                                                                 Continuation Sheet No. 2


       11. Closed financial accounts
None
             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
þ      otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial
       accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives,
       associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)


       12. Safe deposit boxes
None
              List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
þ      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories
       of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
               List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement
þ      of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
             List all property owned by another person that the debtor holds or controls.
þ
       15. Prior address of debtor
None
              If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor
þ      occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of
       either spouse.



       16. Spouses and Former Spouses
None
             If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
þ      Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the
       commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the
       community property state.



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None         a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
þ      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:
          Case 05-82965-hdh7 Doc 1 Filed 10/10/05                               Entered 10/10/05 16:53:35                     Page 25 of 34
                                               UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF TEXAS
                                                        DALLAS DIVISION
  IN RE:     Linda Sara Dwire                                                                       CASE NO

                                                                                                   CHAPTER         7

                                              STATEMENT OF FINANCIAL AFFAIRS
                                                                Continuation Sheet No. 3


None          b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
þ      Indicate the governmental unit to which the notice was sent and the date of the notice.



None         c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the
þ      debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.



       18. Nature, location and name of business
None
              a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
þ      ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole
       proprietorship, or was a self-employed professional within the six years immediately preceding the commencement of this case, or in which the
       debtor owned 5 percent or more of the voting or equity securities within the six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
       ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six
       years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
       ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six
       years immediately preceding the commencement of this case.


None
             b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. Section 101.
þ

       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within the six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
       owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
       proprietor or otherwise self-employed.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
       within the six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years
       should go directly to the signature page.)


       19. Books, records and financial statements
None
             a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or
þ      supervised the keeping of books of account and records of the debtor.


None
            b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of
þ      account and records, or prepared a financial statement of the debtor.


None
             c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of
þ      the debtor. If any of the books of account and records are not available, explain.


None
             d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
þ      issued within the two years immediately preceding the commencement of this case by the debtor.
          Case 05-82965-hdh7 Doc 1 Filed 10/10/05                                  Entered 10/10/05 16:53:35                      Page 26 of 34
                                                UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF TEXAS
                                                         DALLAS DIVISION
  IN RE:      Linda Sara Dwire                                                                        CASE NO

                                                                                                      CHAPTER         7

                                               STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 4


       20. Inventories
None
             a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
þ      and the dollar amount and basis of each inventory.


None
             b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
þ

       21. Current Partners, Officers, Directors and Shareholders
None
             a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
þ

None
              b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
þ      controls, or holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
           a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
þ      commencement of this case.


None
             b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
þ      preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
              If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any
þ      form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
              If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group
þ      for tax purposes of which the debtor has been a member at any time within the six-year period immediately preceding the commencement of the
       case.



       25. Pension Funds
None
            If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
þ      employer, has been responsible for contributing at any time within the six-year period immediately preceding the commencement of the case.
         Case 05-82965-hdh7 Doc 1 Filed 10/10/05                        Entered 10/10/05 16:53:35                Page 27 of 34
                                          UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF TEXAS
                                                   DALLAS DIVISION
   IN RE:   Linda Sara Dwire                                                              CASE NO

                                                                                         CHAPTER        7

                                         STATEMENT OF FINANCIAL AFFAIRS
                                                         Continuation Sheet No. 5




                     DECLARATION CONCERNING DEBTOR'S STATEMENT OF FINANCIAL AFFAIRS


     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto, consisting of         6                   sheets, and that they are true and correct.


Date 10/10/2005                                                Signature         /s/ Linda Sara Dwire
                                                               of Debtor         Linda Sara Dwire


Date 10/10/2005                                                Signature
                                                               of Joint Debtor
                                                               (if any)

 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C.
 Sections 152 and 3571
         Case 05-82965-hdh7 Doc 1 Filed 10/10/05                       Entered 10/10/05 16:53:35                 Page 28 of 34
                                          UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF TEXAS
                                                   DALLAS DIVISION
   IN RE:   Linda Sara Dwire                                                              CASE NO

                                                                                         CHAPTER       7

                     CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION


1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
2. I intend to do the following with respect to the property of the estate which secures those consumer debts:

a. Property to Be Surrendered.

                   DESCRIPTION OF PROPERTY                                                       CREDITOR'S NAME

 None



b. Property to Be Retained. (Check any applicable statement).
                                                                            Lien will be      Property is                   Debtor will
                                                                            avoided           claimed as                    continue
                                                                            pursuant to       exempt and                    making
                                                                            Sec. 522(f)       will be        Debt will be   payments to
 DESCRIPTION OF PROPERTY                  CREDITOR'S NAME                   and property      redeemed       reaffirmed     creditor
                                                                            will be claimed   pursuant to    pursuant to    without
                                                                            as exempt         Sec. 722       Sec. 524(c)    reaffirming

1988 28'x52' Redman Mobile         American General Finance                       ¨                ¨               þ             ¨
Home                               Terrell Plaza
                                   111 State Highway 205, Ste. 102
                                   Terrell, TX 75160-2360
                                   xxxxxxxx1110

1988 28'x52' Redman Mobile         Kaufman County Tax A/C                         ¨                ¨               þ             ¨
Home                               P. O. Box 339
                                   Kaufman, TX 75142
                                   531

2003 Chevy Monte Carlo             Primus Financial Service                       ¨                ¨               þ             ¨
                                   P.O. Box 55000
                                   Department 193401
                                   Detroit, MI 48255-1939
                                   xxxxxxxxxx7944
         Case 05-82965-hdh7 Doc 1 Filed 10/10/05                        Entered 10/10/05 16:53:35               Page 29 of 34
                                          UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF TEXAS
                                                   DALLAS DIVISION
   IN RE:   Linda Sara Dwire                                                              CASE NO

                                                                                         CHAPTER       7

                     CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                         Continuation Sheet No. 1




Date 10/10/2005                                                Signature    /s/ Linda Sara Dwire
                                                                           Linda Sara Dwire




Date                                                           Signature




                                                      CERTIFICATE OF SERVICE
       I, the below signed, do hereby certify that a true and correct copy of the foregoing Chapter 7 Individual Debtor's Statement of
Intention was mailed or otherwise served to the Chapter 7 Trustee, the secured creditors as listed on Schedule D, the United States
Trustee and/or to any other interested parties as may be required by B.R. 1007 and applicable local bankruptcy rules.




Date 10/10/2005                                                            /s/ Jenny C. Parks
                                                                           Jenny C. Parks
          Case 05-82965-hdh7 Doc 1 Filed 10/10/05                                 Entered 10/10/05 16:53:35                   Page 30 of 34
                                                UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF TEXAS
                                                         DALLAS DIVISION
   IN RE:     Linda Sara Dwire                                                                        CASE NO

                                                                                                     CHAPTER            7

                                     NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S)
        The purpose of this notice is to acquaint you with the four chapters of the federal Bankruptcy Code under which you may file a
        bankruptcy petition. The bankruptcy law is complicated and not easily described. Therefore, you should seek the advice of an
        attorney to learn your rights and responsibilities under the law should you decide to file a petition with the court. Court
        employees are prohibited from giving you legal advice.


Chapter 7: Liquidation ($209.00 filing fee)
1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.

2. In a Chapter 7 case, a trustee secures for the bankruptcy estate all your assets which the trustee may obtain under the applicable provisions of
the Bankruptcy Code. You may claim certain of your property exempt under governing law. The trustee may then liquidate the non-exempt property
as necessary and uses the proceeds to pay your creditors according to priorities of the Bankruptcy Code.

3. The purpose of filing a Chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have committed certain
kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court, and the purpose for which you filed the
bankruptcy petition will be defeated.

4. Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may still be responsible for such
debts as certain taxes and student loans, alimony and support payments, criminal restitution, and debts for death or personal injury caused by
driving while intoxicated from alcohol or drugs.

5. Under certain circumstances you may keep property that you have purchased subject to a valid security interest. Your attorney can explain the
options that are available to you.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($194.00 filing fee)
1. Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like to pay them in installments
over a period of time. You are only eligible for Chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy Code.

2. Under Chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them, using your future
earnings. Usually, the period of time allowed by the court to repay your debts is three years, but no more than five years. Your plan must be
approved by the court before it can take effect.

3. Under Chapter 13, unlike Chapter 7, you may keep all of your property, both exempt and non-exempt, as long as you continue to make payments
under the plan.

4. After completion of payments under your plan your debts are discharged except alimony and support payments, student loans, certain debts
including criminal fines and restitution and debts for death or personal injury caused by driving while intoxicated from alcohol or drugs, and long-
term secured obligations.


Chapter 11: Reorganization ($830.00 filing fee)
Chapter 11 is designed primarily for the reorganization of a business but is also available to consumer debtors. Its provisions are quite complicated,
and any decision by an individual to file a Chapter 11 petition should be reviewed with an attorney.


Chapter 12: Family Farmer ($230.00 filing fee)
Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future earnings and is in many ways similar to
Chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a family-owned farm.


                                                                ACKNOWLEDGEMENT

                                                       10th
 I hereby certify that I have read this notice on this________________day     October
                                                                          of__________________________________,   2005
                                                                                                                _______.

 /s/ Linda Sara Dwire
Linda Sara Dwire
         Case 05-82965-hdh7 Doc 1 Filed 10/10/05                          Entered 10/10/05 16:53:35            Page 31 of 34
                                           UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF TEXAS
                                                    DALLAS DIVISION
IN RE:     Linda Sara Dwire                                                              CASE NO

                                                                                        CHAPTER       7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $1,000.00
     Prior to the filing of this statement I have received:                                          $500.00
     Balance Due:                                                                                    $500.00

2. The source of the compensation paid to me was:
             þ    Debtor                  ¨    Other (specify)

3. The source of compensation to be paid to me is:
             þ    Debtor                  ¨    Other (specify)

4.   þ   I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

     ¨   I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                      10/10/2005                              /s/ Jenny C. Parks
                         Date                                 Jenny C. Parks                             Bar No. 24002066
                                                              Law Office of Jenny C. Parks
                                                              P. O. Box 886
                                                              Crandall, TX 75114
                                                              Phone: (972) 427-8888 / Fax: (972) 472-3888
        Case 05-82965-hdh7 Doc 1 Filed 10/10/05                        Entered 10/10/05 16:53:35           Page 32 of 34
                                          UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF TEXAS
                                                   DALLAS DIVISION
  IN RE:    Linda Sara Dwire                                                           CASE NO

                                                                                      CHAPTER          7

                                             VERIFICATION OF MAILING LIST


      In accordance with Local Rule 1002, the above named Debtor hereby verifies that the attached list of creditors is
true and correct to the best of my knowledge. I also certify that the attached mailing list

   [ ] is the first mailing list filed in this case.

   [ ] adds entities not listed on previously filed mailing list(s).

   [ ] changes or corrects names and address on previously filed mailing lists.




Date 10/10/2005                                             Signature    /s/ Linda Sara Dwire
                                                                        Linda Sara Dwire



Date                                                        Signature




                                                                          /s/ Jenny C. Parks
                                                                        Jenny C. Parks
                                                                        24002066
                                                                        Law Office of Jenny C. Parks
                                                                        P. O. Box 886
                                                                        Crandall, TX 75114
                                                                        (972) 427-8888
Case 05-82965-hdh7 Doc 1 Filed 10/10/05      Entered 10/10/05 16:53:35   Page 33 of 34



                         Action Card-Mastercard
                         P.O. Box 790211
                         St. Louis, MO 63179-0211



                         Action Card-Visa
                         P.O. Box 790211
                         St. Louis, MO 63179-0211



                         American General Finance
                         Terrell Plaza
                         111 State Highway 205, Ste. 102
                         Terrell, TX 75160-2360


                         Dillards
                         P.O. Box 4599
                         Carol Stream, IL 60197-4599



                         Foley's
                         P. O. Box 94508
                         Cleveland, OH 44101-4508



                         Home Depot Credit Services
                         P.O. Box 689100
                         Des Moines, IA 50368



                         Internal Revenue Service
                         Special Procedures
                         1100 Commerce Street
                         Dallas, Texas 75242


                         Kaufman County Tax A/C
                         P. O. Box 339
                         Kaufman, TX 75142



                         Orchard Bank/HSBC Card Service
                         P.O. Box 60102
                         City of Industry, CA 91716-0102
Case 05-82965-hdh7 Doc 1 Filed 10/10/05      Entered 10/10/05 16:53:35   Page 34 of 34



                         Primus Financial Service
                         P.O. Box 55000
                         Department 193401
                         Detroit, MI 48255-1939


                         Recreational Factory Warehouse
                         Wells Fargo Financial National Bank
                         P.O. Box 94498
                         Las Vegas, NV 89193-4498


                         United States Attorney
                         1100 Commerce Room 16G28
                         Dallas, TX 75242-1049



                         Wells Fargo Financial
                         1900 Oats Dr., Ste. 134
                         Mesquite, TX 75150



                         Wells Fargo-Visa
                         P.O. Box 98751
                         Las Vegas, NV 89193-8751



                         WFNNB-Bealls
                         P.O. Box 659465
                         San Antonio, TX 78265-9465



                         WFNNB/Lane Bryant Retail
                         P.O. Box 659728
                         San Antonio, TX 78265-9728



                         William T. Neary
                         United States Trustee
                         1100 Commerce Street, Room 9C60
                         Dallas, TX 75242
